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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        Case No. 09-61529-CIV-MORENO/TORRES


   CATHRIN LORENTZ,

                Plaintiff,

   v.

   SUNSHINE HEALTH PRODUCTS,
   INC., a Florida corporation, and
   CATHIE RHAMES,

               Defendants.
   ______________________________________/

              REPORT AND RECOMMENDATION ON MOTION
        FOR SUMMARY JUDGMENT AND RELATED MOTION IN LIMINE

         This matter is before the Court on Defendants’ Motion for Partial Summary

   Judgment as to (1) Copyright Infringement Damages, (2) Punitive Damages, (3)

   Statutory Damages, and (4) Attorney’s Fees and Statutory Presumption of Copyright

   Validity [D.E. 136] as well as Defendants’ related Motion In Limine [D.E. 146]. We

   have carefully considered the motion and the related filings as well as the record in the

   case, and for the following reasons recommend that Defendants’ motion for summary

   judgment be Granted in part and Denied in part while the motion in limine be Denied.

                                   I.   BACKGROUND

         This lawsuit concerns approximately one dozen photographs of Plaintiff that

   Defendants allegedly used without permission and in violation of Plaintiff’s copyrights

   in the photographs. In her Third Amended Complaint, Plaintiff alleges one count of
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   copyright infringement each against Sunshine (Count I) and Rhames (Count III); one

   count of unauthorized publication of likeness in violation of Fla. Stat. § 540.08 each

   against Sunshine (Count II) and Rhames (Count IV); and one count against both

   Defendants for injunctive relief (Count VII). [D.E. 105 (the “Complaint”)1].

         At all times material to this case, Plaintiff was a professional model. Sunshine

   is a Florida corporation that advertises and sells a teeth whitening product under the

   brand name “Sunshine Smiles.” Rhames is and has been at all material times

   Sunshine’s president. In approximately January 2003, Ralph Morton (“Morton”), on

   behalf of Sunshine, searched the internet for models to endorse Sunshine’s product.

   He eventually located Plaintiff and contacted her about endorsing the product. The

   parties’ versions of subsequent events differ markedly.2

         A.     Defendants’ Version of Relevant Facts

         According to Defendants, Morton and Plaintiff discussed an arrangement

   whereby Plaintiff would endorse Sunshine’s product and allow Sunshine to use her

   modeling photographs on its website. Plaintiff told Morton she wanted more exposure

   to advance her modeling career and emailed photographs of herself to Morton for use

   on the Sunshine website. Morton uploaded some of the photographs to the Sunshine

   website in approximately April 2003, with Plaintiff’s knowledge and consent.

   Meanwhile, Plaintiff agreed to place an endorsement of Sunshine’s product on her



         1
                There are no Counts V or VI in the Third Amended Complaint.
         2
                 We recently issued a Report and Recommendation recommending that the
   parties’ cross-motions for summary judgment be denied in large part because of the
   many material factual disputes.
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   website, www.cathrinlorentz.com, which she did in April 2003. As compensation for

   her endorsement, Sunshine was to provide Plaintiff with free teeth whitening products

   for her personal use whenever she asked for them.

         The agreement between Morton and Plaintiff was the result of their email

   correspondence and at least one telephone conversation between January and June

   2003. Some but not all of the emails between Morton and Plaintiff have been provided

   to the Court and are discussed herein. Others were lost when Sunshine’s computer

   server crashed several years ago (prior to the commencement of this lawsuit).

         The first email provided to the Court is dated April 21, 2003. It is a “mass

   mailing” type email that Plaintiff sent to many people, including Morton, announcing

   that her personal website was up and running. [D.E. 33-1 at 8]. Morton responded on

   April 22, 2003 by email, the relevant portions of which are quoted here:

         I am so glad you emailed us. Our computer crashed and we lost your
         email address.

         Any rate, attached is the picture we decided to use of yours. We would
         like to send you a sample of the product so you can endorse our product
         with 2 or 3 sentences of praise. In return, we will keep a link to your
         website for people interested in you as a model. We need some of your
         special assignments [sic] you have done in the past to mention as you are
         our international model endorsing our product. . . .

         In return, we will send you product whenever you need more for your use.
         If you have any new smile face shots send them to us.

         Make sure you email us back with your mailing address so we can send
         out the product to you immediately. . . .

   [D.E. 33-1 at 9].

         On April 28, 2003, Plaintiff responded to Morton with two email messages. The

   first email mentioned that she had “put up the photo you sent me, thanks.” and closed
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   with “[h]ope to hear from you soon.” [D.E. 33-1 at 11]. The second email Plaintiff sent

   to Morton on April 28, 2003 contained her mailing address. [Id. 33-1 at 12]. Morton

   thereafter had approximately four tubes of the company’s teeth whitening product

   mailed to Plaintiff at the address she provided. The shipment was neither rejected nor

   returned.

         On May 31, 2003, Morton received another mass email from Plaintiff that

   included a photograph from her latest job. [D.E. 33-1 at 13].

         Morton indicated that at some point during the time Plaintiff was emailing him

   photographs, he asked her to send more photographs of her smiling broadly so her

   teeth would show more prominently. On June 11, 2003, Plaintiff sent an email to

   Morton stating, “Here comes [sic] a few new photos and smily [sic] ones. Hope you like

   them, speak soon. . . .“ [D.E. 33-1 at 14]. Morton responded with an email advising

   that they had included her link on the Sunshine website and auctions on e-Bay. He

   also inquired whether she had received any modeling offers through the link to her

   website on the Sunshine site.

         Plaintiff did not respond to Morton’s last email and he did not hear from her

   again until Defendants were served with this lawsuit in October 2009. Plaintiff never

   informed Morton that she did not want Defendants to use her photographs on

   Sunshine’s website or to promote or endorse Defendants’ products. She never asked

   that Sunshine discontinue the use of her photographs on its website. Based on their

   email correspondence and one telephone conversation between January and June 2003,

   Morton believed that Plaintiff had authorized the use of her photographs by Sunshine;
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   knew of the use of her photograph on Sunshine’s websites as early as May 2003; and

   agreed that the photographs she sent would be used on Sunshine’s website for the

   endorsement of its product.

          Sunshine published Plaintiff’s photographs on the internet for the sale and

   marketing of its products, but otherwise did not use the photographs in any other

   manner.       For instance, Defendants never provided Plaintiff’s photographs to

   distributors of teeth whitening products or, for that matter, to any third party. The

   only websites that Defendants ever advertised products for sale on and on which

   Plaintiff’s photographs were displayed were three of Sunshine’s websites:

   www.sunshineauctions.com,                      www.brite-teeth.com,                 and

   http://stores.ebay.com/TEETHWHITENING-ProStrength.              Plaintiff’s photographs

   appeared on www.sunshineauctions.com and the ebay site from April 2003 through the

   time the complaint was filed. Her photographs appeared on the www.brite-teethc.om

   from April 2003 through approximately May 2004. Defendants do not own, control, or

   have    any     association   with   the    websites    www.whitersmile.com/au         or

   www.sunshinesmiles.com/au and never authorized the operators of those sites to use

   Plaintiff’s photographs.

          Defendants have only derived revenues from (1) the website www.alibaba.com;

   (2) word of mouth referrals; (3) repeat sales from existing customers; and (4) sales from

   the aforementioned three Sunshine websites. The vast majority of their revenues came

   from the first three sources. For instance, Morton testified that “the escalation of the

   gross revenues that you see . . . for 2007 through 2009 are directly related and correlate

   with the introduction of us going on [www.alibaba.com].” [D.E. 180-4 at 3, p. 67].
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         Morton visited Plaintiff’s website in 2003 and saw this notice: “All photos on

   this web page is Copyright © Cathrin Ms. Lorentz 2003.” [D.E. 143 at 12 ¶ 14]. Based

   on this notice, Morton presumed that Plaintiff owned the right to authorize Sunshine

   to use her photographs.

         B.     Plaintiff’s Version of Relevant Facts

         According to Plaintiff, she never agreed to allow Sunshine to use her

   photographs. After Morton contacted her about endorsing Sunshine’s product, Plaintiff

   sent him the only two photographs she had of herself smiling. However, no agreement

   was ever reached between herself and Defendants. She received an email from Morton

   saying Sunshine would send some bleaching and teeth whitening products, an offer she

   laughed at because “I was making a great deal of money in my profession when I was

   working full time as a model. And to have somebody offer you – I mean, would you

   work for somebody for seven years and be paid in teeth-whitening products? I don’t

   think so. No one would. So I laughed and never heard anything else. That was the

   end of it.” [D.E. 77 at 11, p. 13 lines 17-23].

         Plaintiff never read the April 22, 2003 email from Morton in which he advised

   which photograph the Defendants had selected to use (and attached that photo to the

   email), nor any subsequent emails from him, until this litigation began. With regard

   to the email from her to Morton dated April 28, 2003 that advised, “I put up the photo

   you sent me, thanks.” [D.E. 77 at 25], Plaintiff did not recall sending it nor did she

   know who had. Nor did she send the email dated June 11, 2003 that stated, “Here

   comes a few new photos and smily [sic] ones” or the photographs referenced in that
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   email. Further, she never had a telephone conversation with Morton about this.

         Plaintiff had no knowledge or awareness that Sunshine was using her

   photographs in any manner until 2009. That is when she discovered, by “Googling”

   herself on the internet, that her images were being used by Sunshine for endorsement

   and advertising of its teeth whitening products on various websites. These sites

   included:      www.brite-teeth.com;      http://stores.ebay.com/TEETH-WHITENING-

   ProStrength;     www.sunshineauctions.com;           www.whitersmile.com/au;          and

   www.sunshinesmiles.com.au. Plaintiff’s photographs appeared on the www.brite-

   teeth.com site from April 2003 to May of 2004 and again from December 2005 to

   February 2006. Plaintiff disputes that Defendants’ revenues came from sources other

   than their websites, such as www.alibaba.com.

         The photographs at issue in this case were taken by Peter Hall (“Hall”). Hall

   owned the copyrights in the images until June 6, 2009, when he signed a document

   that “transfer[red] to [Plaintiff] all of my rights title and interest in the copyrights of

   all photographs that I have created which includes her likeness prior to this date.”

   [D.E. 69-5 at 2]. On March 13, 2010, Hall executed another transfer of copyrights

   “including but not limited to all rights to enforce prior infringements.” [D.E. 69-5 at

   4]. Defendants never communicated with Hall and never received consent from him

   to use his photographs of Plaintiff.      On September 17, 2009, Plaintiff received

   certificates of registration from the United States Copyright Office for nine (9) of the

   photographs used by Defendants. She filed this lawsuit on September 25, 2009.

                                      II.    ANALYSIS

         Defendants move for partial summary judgment on the issue of damages. They
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   argue first that Plaintiff has not demonstrated her entitlement to either actual

   damages or Defendants’ profits under the Copyright Act. They further contend that

   the evidence of record does not justify the imposition of punitive damages. In addition,

   Defendants argue and Plaintiff concedes that she is not entitled to statutory damages

   or attorneys’ fees.   Defendants also argue and Plaintiff acknowledges that her

   copyright registrations are not entitled to the presumption of validity embodied in 17

   U.S.C. § 410(c). We also discuss Defendants’ motion in limine as it relates to the expert

   reports.

         A.     Summary Judgment Standard

         Summary judgment is appropriate where “the pleadings, depositions, answers

   to interrogatories, and admissions on file, together with the affidavits, if any, show

   that there is no genuine issue as to any material fact and that the moving party is

   entitled to judgment as a matter of law.” Imaging Bus. Machs., LLC. v. BancTec, Inc.,

   459 F.3d 1186, 1189 (11th Cir. 2006) (citing Fed. R. Civ. P. 56(c)). In deciding a

   summary judgment motion, the Court must view all the evidence and make all

   reasonable inferences in the light most favorable to the non-moving party. Id. (citing

   Cruz v. Publix Super Mkts., Inc., 428 F.3d 1379, 1382 (11th Cir. 2005)). A material fact

   is one that might affect the outcome of the case. See Anderson v. Liberty Lobby, Inc.,

   477 U.S. 242, 248 (1986). When the non-moving party fails to prove an essential

   element of its case for which it has the burden of proof at trial, summary judgment is

   warranted. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986); Hilburn v. Murata

   Elecs. North Am., Inc., 181 F.3d 1220, 1225 (11th Cir. 1999). Thus, our task is to

   determine whether, considering the evidence in the light most favorable to the non-
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   moving party, there is evidence from which the trier of fact could reasonably find a

   verdict in that party’s favor. See Anderson, 477 U.S. at 251; Hilburn, 181 F.3d at 1225.

   If so, summary judgment is not appropriate.

         B.     Actual Damages and Defendants’ Profits

         Defendants argue that Plaintiff has failed to produce any evidence that she is

   entitled to either actual damages or profits from Defendants under the Copyright Act.

   A copyright owner who successfully proves infringement could be entitled to both:

         The copyright owner is entitled to recover the actual damages suffered by
         him or her as a result of the infringement, and any profits of the infringer
         that are attributable to the infringement and are not taken into account
         in computing the actual damages. In establishing the infringer’s profits,
         the copyright owner is required to present proof only of the infringer’s
         gross revenue, and the infringer is required to prove his or her deductible
         expenses and the elements of profit attributable to factors other than the
         copyrighted work.

   17 U.S.C. § 504(b).

         1.     Actual Damages

         Plaintiff claims that she lost, as result of Defendants’ allegedly infringing

   conduct, modeling fees as well as revenues for the use of her photographs. To recover

   actual damages, she must demonstrate a “causal connection” between Defendants’

   infringement and an injury to the market value of the copyrighted photographs at the

   time of the infringement. Montgomery v. Noga, 168 F.3d 1282, 1294 (11th Cir. 1999).

   Actual damages are often measured by the revenue that a plaintiff lost as a result of

   the infringement, id. at 1295 n.19, which includes “lost sales, lost opportunities to

   license, or diminution in the value of the copyright.” Thornton J Jargon Co., 580 F.

   Supp. 2d 1261, 1276 (M.D. Fla. 2008) (citing On Davis v. The Gap, Inc., 246 F.3d 152,
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   164 (2d Cir. 2001)).

         Defendants contend that Plaintiff has failed to produce evidence demonstrating

   that she lost any revenue as a result of Defendants’ actions. They argue that she did

   not present evidence that she earned any revenue from the photographs at issue, that

   those photographs had any market value, or that the use by Defendants of those

   photographs had any negative impact on her. Defendants are not asserting that

   Plaintiff must demonstrate the amount of her actual damages at this point but, rather,

   that she must show, at a minimum, that a casual connection exists between infringing

   conduct and lost revenues. [D.E. 180 at 11].

         With regard to modeling fees, Plaintiff testified that she would have been paid

   100,000 (British) pounds per year for a campaign of the type undertaken by

   Defendants, had she done the job. [D.E. 180-1 at 18, p. 239]. Although Plaintiff could

   not say with certainty that she lost other work as a model as a result of the

   Defendants’ use of her photographs, she testified that it was not normal in the

   modeling industry to “tie yourself up for more than a year, maximum three, because

   it’s overexposure of you as a working model[,]” and therefore there probably would have

   been some damage to her employability. [D.E. 180-1 at 34-35, pp. 255-56].

         This testimony is corroborated by the expert report of Peggi McKinley,3 who


         3
                 Defendants argue that McKinley’s report, as well as the expert reports of
   Plaintiff’s other experts, are unsworn and lack evidentiary support, and therefore
   cannot create genuine issues for trial. [D.E. 180 at 11-14]. A party opposing summary
   judgment must come forward with sworn evidence in the form of an affidavit or
   deposition to support her theory of a claim, and expert testimony must be factually
   supported. While the expert reports that Plaintiff submitted do not meet these
   requirements, we look to them to corroborate other evidence Plaintiff has presented.
   We note that at the time Plaintiff filed her response to Defendants’ motion for
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   opined that a standard modeling fee in 2003 for a campaign of the sort Defendants

   employed would have been approximately $75,000.00 for the first year usage

   worldwide in all media; if an agreement were made at the onset for usage for

   subsequent years (which was typical), the second year would be $100,000.00; third year

   would be $150,000.00; fourth year $200,000.00; fifth year $250,000; sixth year

   $300,000; and seventh year $350,000. [D.E. 152-10 at 39 (Expert Report of Peggi

   McKinley), p. 2]. However, McKinley opined that modeling campaigns lasting beyond

   three years were unusual as it was damaging to the model’s career to enter into such

   a long campaign. [Id.]. The expert further opined that Plaintiff “would definitely

   experience a decrease in her marketability as a model and a decrease in the market

   value of the images in question at this point in time, as a result of this seven year ad

   campaign.”

         We find this evidence sufficiently shows a causal connection between

   Defendants’ use of Plaintiff’s photographs and her lost profits in the form of modeling

   fees that she would have earned had she and Defendants contracted for this job.

         Plaintiff may also claim a reasonable, retroactive licensing fee as part of her

   actual damages. Courts and commentators generally agree that § 504(b) “should be

   broadly construed to favor victims of infringement.” Hofmann v. O’Brien, 367 Fed.

   Appx. 439, 442 (4th Cir. 2010) (quoting On Davis, 246 F.3d at 164)). “Where a copier

   of protected work, instead of obtaining permission and paying the fee, proceeds without

   permission and without compensating the owner, the owner has suffered damages to




   summary judgment, expert discovery had not closed.
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   the extent of the infringer’s taking without paying what the owner was legally entitled

   to exact a fee for.” Id. (quoting On Davis, 246 F.3d at 165) (internal quotation marks

   omitted). Thus, the copyright owner may recover the fair market value of the licensing

   fee that would have been charged for the work that was infringed. Id.; see also

   Thornton, 580 F. Supp. 2d at 1276 (“[A] claim for lost profits may include a retroactive

   license fee measured by what the plaintiff would have earned by licensing the

   infringing use to the defendant.”); On Davis, 246 F.3d at 166 (“we can see little reason

   not to consider the uncollected license fee as an element of actual damages under §

   504(b).”); Baker v. Urban Outfitters, Inc., 254 F. Supp. 2d 346, 357-58 (S.D. N.Y. 2003)

   (following On Davis and concluding that a reasonable licensing fee can fall within an

   actual damages calculation).

          To demonstrate entitlement to a reasonable licensing fee, Plaintiff must show

   her photographs had a fair market value. Thornton, 580 F. Supp. 2d at 1276. She can

   make this showing by demonstrating that she “previously received compensation for

   use of the infringed work” or by providing evidence of “benchmark licenses, that is,

   what licensors have paid for use of similar work.” Id. See also On Davis, 246 F.3d at

   166 (the plaintiff testified that he had previously received a certain amount for the use

   of a photograph which included his copyrighted eyewear); Baker, 254 F. Supp. 2d at

   359 (plaintiff produced evidence of previous license fees paid for the publication of his

   photographs); Country Road Music, Inc. v. MP3.com, Inc., 279 F. Supp. 2d 325, 331-32

   (S.D. N.Y. 2003) (license fees paid to other artists could be used to measure the

   plaintiff’s license fee).
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         Plaintiff has not provided specific evidence of past licensing fees for the

   particular photographs at issue here. However, she testified that some of the photos

   had been published in the past [see, e.g., D.E. 152-1 at 26, pp. 190-91] and that her

   former modeling agent (whom had yet to be deposed at the time Plaintiff submitted

   this response) had those figures [D.E. 180-1 at 19, pp. 240-41]. However, she has

   provided evidence of benchmark licensing fees for the photographs. Her expert, Lee

   Gordon, examined the photographs that Defendants used and offered a “stock

   photograph copyright licensing quote” for each, for total licensing fees in the amount

   of $275,025.36. [D.E. 152-10 at 20-29 (Expert Report of Lee Gordon)]. Gordon also

   opined that Defendants’ use of Plaintiff’s photographs “has virtually eliminated any

   future value or potential third party licensing sales” for her. [Id. at 6, p. 1]. Once the

   infringement occurred, he stated, “there was a significant injury to the potential

   market value of [twelve photographs] for any interested third party licensing usage.”

   [Id. at 7, p. 2]. He also opined that the use by Defendants’ “considerably diminished

   market value and loss of potential sales” for Plaintiff. [Id. at 7, p. 2].

         We find that Plaintiff’s testimony and supporting corroboration create a triable

   issue as to a reasonable, retroactive licensing fee for these photographs, in addition to

   the amount of modeling fees she lost as a result of Defendants’ actions. Whether

   Plaintiff can sustain her burden of proof at trial is another matter and not ours to

   decide.

         2.     Defendants’ Profits

         Defendants also argue that Plaintiff is not entitled to recover Defendants’ profits

   because she has failed to demonstrate a causal connection between the infringement
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   and their profits. As previously noted, the Copyright Act permits a copyright owner

   to recover “any profits of the infringer that are attributable to the infringement.” To

   establish a defendant’s profits, the copyright owner must

         present proof only of the infringer's gross revenue, and the infringer is
         required to prove his or her deductible expenses and the elements of
         profit attributable to factors other than the copyrighted work.

   17 U.S.C. § 504(b). This provision creates an initial presumption that the infringer’s

   profits attributable to the infringement are equal to the infringer’s gross revenue.

   Bouchat v. Baltimore Ravens Football Club, Inc., 346 F.3d 514, 520 (4th Cir. 2003)

   (citation omitted). Once the copyright owner has presented evidence of the gross

   revenue of the infringer, the burden shifts to the infringer to show either that part or

   all of the revenue is not profit, or that it is “attributable to factors other than the

   copyrighted work.” Id. The infringer has the burden of showing that certain portions

   of its revenue was due to factors other than the infringement but need not prove these

   amounts with mathematical precision. Id.

         Although the plain language of § 504(b) does not expressly require a copyright

   owner to show a nexus between a defendant’s gross revenues and the infringement,

   and the Eleventh Circuit Court of Appeals has not ruled directly on this issue, most of

   the other circuit courts of appeal and our own district court have required some nexus

   between the infringing activity and the gross revenue figure proffered by a copyright

   owner. See, e.g., Ordonez-Dawes v. Turnkey Props., Inc., No. 06-60557-CIV, 2008 WL

   828124, at *3 (S.D. Fla. March 27, 2008) (citing to decisions from the Second, Fourth,

   Seventh, Eighth, Ninth, and Federal Circuits that required a nexus between the gross

   revenue and infringement); Oravec v. Sunny Isles Luxury Ventures L.C., 469 F. Supp.
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   2d 1148, 1175 (S.D. Fla. 2006) (a plaintiff must proffer some reasonable connection

   between the infringement and defendant’s gross revenue); Home Design Servs., Inc. v.

   Hibiscus Homes of Fla., Inc., No. 603CV1860ORL19KRS, 2005 WL 3445522, at *14

   (M.D. Fla. Dec. 14, 2005) (Fawsett, Chief J.) (holding that the plaintiff “is required to

   at least proffer some evidence of a causal connection between the alleged infringement

   of the plans at issue and the home construction profits earned by [the defendant] in

   order to survive summary judgment.”; rejecting plaintiff’s argument that merely

   proving the defendant’s gross revenue was sufficient); On Davis, 246 F.3d at 160

   (“Nonetheless we think the term “gross revenue” under the statute means gross

   revenue reasonably related to the infringement, not unrelated revenues.”); but see

   Home Design Servs., Inc. v. Park Square Enters., Inc., No. 6:02-cv-637-Orl-28JGG, 2005

   U.S. Dist. Lexis 33627, at *11 (M.D. Fla. May 2, 2005) (Antoon, J.) (“Notwithstanding

   the plain language of Section 504(b), Defendants maintain that, to survive summary

   judgment, Home Design must proffer ‘non-speculative evidence’ which supports a

   causal link between Defendants’ profits and [] their alleged infringing activities. As

   there is no basis here to depart from the plain language of a statute, Defendants’

   argument fails.”). We agree with the majority of courts and hold that Plaintiff must

   proffer some nexus between infringement and revenue. We find that she has.

         Plaintiff claims that all of Defendants’ gross revenue was derived through the

   sale of its products on its websites, where Plaintiff’s images were used to endorse and

   advertise those products. [D.E. 152 at 14-15]. Defendants dispute this assertion,

   arguing that the evidence shows that the vast majority of their revenue was derived

   not through their websites but through sales channels that never had any connection
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   to Plaintiff’s images. [D.E. 180 at 17]. Defendants contend that Plaintiff has failed to

   establish which portion of their profits is specifically attributable to their use of

   Plaintiff’s images and, therefore, she cannot establish any causal connection between

   revenues and the infringement.

         We agree with Defendants that Plaintiff is not entitled to recover profits that are

   not attributable to Defendants’ infringing activity. However, it is clear that some

   portion of Defendants’ profits over the relevant time period derived from their alleged

   mis-use of Plaintiff’s photographs.

         At least for some period of time between 2003 and 2009, all of the sales for

   Defendants’ products were conducted online. Rhames testified that “[i]n the beginning

   all of our sales were done online to the best of my knowledge.” [D.E. 152-7 at 7, p. 12].

   All profits derived from these sales would have been causally connected to Defendants’

   use of Plaintiff’s images.

         Additionally, there is no dispute that one or more of Plaintiff’s images appeared

   on the SunshineAuctions.com, brite-teeth.com, and ebay websites to endorse and

   advertise their products. [D.E. 152-5 at 11, pp. 25-27; D.E. 152-6 at 10, pp. 25-27]. A

   look at the archived webpages reveals that Plaintiff’s photographs featured quite

   prominently in the advertisements for Defendants’ teeth whitening product. On some

   of the pages, a compilation of nine or eleven different images of Plaintiff was displayed.

   [See, e.g., D.E. 152-4 at 2 (eleven images on brite-teeth.com; id. at 34 (nine images on

   an ebay site); id. at 53 (one image on sunshineauctions.com)].4 They were an integral


         4
               Plaintiff intends to offer a marketing expert, Paul W. Miniard, to
   demonstrate the connection between Defendants’ use of Plaintiff’s image in advertising
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   part of the ads.

         Plaintiff’s photographs appeared on www.sunshineauctions.com and the ebay

   site from April 2003 through the time the complaint in this case was filed. Sunshine

   Auctions was a website only, i.e., all sales for its sole product (teeth whitening

   products) were sold exclusively through the website.        [D.E. 152-6 at 16, p. 51].

   Sunshineauctions.com was terminated just this year while the Sunshine Auctions site

   on ebay continues to exist. [D.E. 152-6 at 5, pp. 4-5].

          Defendants indicated that the ebay store was supported by them through at

   least 2005 or 2006, when they phased it out. [D.E. 152-5 at 11, pp. 25-27]. Plaintiff’s

   photographs also appeared on the www.brite-teethc.om from April 2003 through at

   least May 2004, although Plaintiff claims her images also appeared on that site from

   December 2005 through February 2006.

         Plaintiff also argues that circumstantial evidence can support a finding of a

   nexus between Defendants’ revenue and the use of her photos. She cites Andreas v.

   Volkswagen of Am., Inc., 336 F.3d 789 (8th Cir. 2003), a case in which the Eighth

   Circuit determined that the jury had enough circumstantial evidence to find that a

   commercial that included the plaintiff’s copyrighted work contributed to the defendant


   the product and the sales generated from that advertising. In his expert report,
   Miniard concluded that “it is not a leap of faith to suggest that the effects” of using
   Plaintiff’s images and endorsement “would have resulted in more favorable purchase
   intentions [of consumers] and product sales.” [D.E. 152-10 at 61]. Additionally,
   another of Plaintiff’s experts, Gordon, opined that Defendants’ incorporation of
   Plaintiff’s images into their website advertising “appreciatively increased the dynamic
   impact of their website advertising . . . [which] added significant advertising value and
   benefits to this teeth-whitening product line.” [D.E. 152-10 at 7]. These experts may
   lend support to Plaintiff’s contention that there is a nexus between the infringement
   and Defendants’ revenue.
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   Audi’s profitable introduction of its new coupe. The court considered several factors,

   including that the plaintiff’s copyrighted work was at the centerpiece of Audi’s

   television commercial for the new coupe; Audi enthusiastically presented the

   commercial to its dealers as important and integral to its launch of the coupe; and

   Audi’s sales of the coupe when the commercial was airing were above projections. Id.

   at 797. The court noted that although the commercial probably did not contribute to

   every purchase of the new coupe, once plaintiff had shown a nexus between the

   infringement and revenues, the plaintiff had only to establish Audi’s gross revenues

   from the new model, then the burden shifted to Audi to show what effect other factors

   had on its profits. Id.

         Plaintiff points to the following as circumstantial evidence of a causal connection

   between the unauthorized use of her photos and Defendants’ profits:            Rhames’

   deposition testimony that her partner Morton was excited over the use of Plaintiff’s

   images and that Morton thought using the images would lead to increased revenues.

   [D.E. 152 at 16]. Plaintiff also points out that her images were used as a “centerpiece

   of Defendants’ endorsement of their products.” [Id].

         We will not rely on the hearsay statements of what Morton purportedly told

   Rhames. However, we do agree that the compilations of up to eleven of Plaintiff’s

   photographs that were prominently displayed on Defendants’ websites and were a focal

   point of Defendants’ ads are circumstantial evidence of a nexus between infringement

   and revenue.

         While Defendant claims that the increased revenue that followed use of

   Plaintiff’s images was unrelated to those images, Plaintiff has proffered enough
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   evidence that, construed in a light most favorable to her together with all reasonable

   inferences, allows us to find a causal connection between Defendants’ use of Plaintiff’s

   photographs and their profits and a question of fact as to how much of the revenues

   were attributable to the infringement. The burden now shifts to Defendants to

   establish the revenue came from non-infringing activity. Accordingly, we recommend

   that Defendants’ motion for summary judgment on Plaintiff’s claim for Defendants’

   profits attributable to the infringement be denied.

         C.     Punitive Damages

         Defendants also contend that Plaintiff is not entitled to punitive damages if she

   prevails on her unauthorized publication of likeness claims. Defendants state that,

   once they learned of her objection to the use of her photographs, they immediately took

   measures to remove all of her photos from their websites of which they were aware.

   When additional sites that contained Plaintiff’s images were discovered during

   discovery, the offending photographs were quickly removed from those sites, too.

   Defendants contend they used her photos based on a good-faith belief that they had an

   agreement with her to do so. But even if they were mistaken, they say there is no

   evidence in this record of any intent to harm Plaintiff.

         A party prevailing on an unauthorized publication of likeness claim brought

   pursuant to Fla. Stat. § 540.08 may recover damages, including punitive damages. §

   540.08(2). As § 540.08 does not provide a standard for determining when punitive

   damages are appropriate, we look to Florida’s punitive damages statute, Fla. Stat. §

   768.72, for guidance. See WFTV, Inc. v. Hinn, 705 So. 2d 1010, 1011 (Fla. 5th DCA

   1998) (§ 540.08(2), which does not provide any procedure by which a claim for punitive
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   damages should be pled, should be read in conjunction with § 768.72).5

          We find two Florida cases that reach opposite results on this issue particularly

   instructive.

          In the first, Genesis Publ’ns, Inc. v. Goss, 437 So. 2d 169 (Fla. 3d DCA 1983), the

   court found punitive damages were not warranted. There, a magazine company

   obtained a nude photograph of the plaintiff from an advertising agency, then published

   the photograph in an advertisement without obtaining the plaintiff’s permission. Id.

   at 169. Although permission to publish the photograph was required by law (including

   § 540.08), a corporate officer for the defendant company testified that notwithstanding

   the requirements of law, the company never sought permission because it was assumed

   that the advertising agency would obtain the necessary permission in accordance with

   the industry practice. Id. at 170.

          The court reviewed the standard for imposition of punitive damages:

          If there [is] evidence tending to show intentional, wanton and malicious


          5
                 Under § 768.72, punitive damages may be imposed “only if the trier of
   fact, based on clear and convincing evidence, finds that the defendant was personally
   guilty of intentional misconduct or gross negligence.” § 768.72(2). These two terms are
   defined as follows:

          (a) “Intentional misconduct” means that the defendant had actual
          knowledge of the wrongfulness of the conduct and the high probability
          that injury or damage to the claimant would result and, despite that
          knowledge, intentionally pursued that course of conduct, resulting in
          injury or damage.

          (b) “Gross negligence” means that the defendant’s conduct was so reckless
          or wanting in care that it constituted a conscious disregard or indifference
          to the life, safety, or rights of persons exposed to such conduct.

   Fla. Stat. §§ 768.72(2)(a)-(b).
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         disregard for laws designed to protect people’s rights, the issue of punitive
         damages would properly be one for the jury. However, plaintiff must
         show more than an intent to commit a tort or violate a statute to justify
         punitive damages. . . . “[M]ere proof of an intentional tort does not ipso
         facto entitle the plaintiff to punitive damages. . . .”

   Id. (internal citation omitted). Applying this standard, the court determined that the

   defendant’s conduct was intentional, but not a wanton disregard of plaintiff’s rights.

   Id. “The terms ‘recklessness, wantonness and willfulness,’ when used to justify

   punitive damages impl[y] a knowledge and present consciousness not simply that a

   statute or right will be violated but that injury will result.” Id. at 170-71. Punitive

   damages were therefore inappropriate under the facts of the case, the Genesis court

   concluded. Id. at 171.

         On the other hand, an award of punitive damages was affirmed in Sun Int’l

   Bahamas, Ltd. v. Wagner, 758 So. 2d 1190 (Fla. 3d DCA 2000). In Sun, the plaintiff

   participated in a 1990 photo shoot after being hired by an advertising agency to model

   for brochures and other public relations materials for the defendant resort. Id. at 1191.

   The plaintiff signed a contract giving the defendant unlimited rights to his

   photographs for three years (or until 1993). Id. In 1994, however, the resort used the

   plaintiff’s photographs without contacting him about an extension of the contract or

   compensating him for the continued use of his pictures. Id. Meanwhile, during the

   same time period, the defendant contacted other models involved in the 1990 photo

   shoot and compensated them for the continued use of their photos. Id. The defendant

   became aware that authorization to use the plaintiff’s photographs had expired but

   refused to compensate him for the use of his photos during the unauthorized period.
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   Id.

         On appeal, the court affirmed the award of punitive damages because, unlike in

   Genesis, it found that the defendant “had direct knowledge in 1994 that it had no

   permission to use [the plaintiff’s] photographs. Yet, despite [the defendant’s] direct

   knowledge, as late as 1995, copies of the old brochures containing [the plaintiff’s]

   photographs were found in travel agencies and at the resort itself.” Id.

         We turn now to the facts in our case. Construing the evidence in this record in

   a light most favorable to Plaintiff as the non-moving party, we find there is evidence

   which, if believed by the fact-finder, could support an award of punitive damages

   against Defendants.

         The jury could find that Defendants knew that Plaintiff had rejected Morton’s

   overtures and had not granted permission for them to use her photographs to advertise

   and promote their product, yet they did so anyway. Although Plaintiff emailed Morton

   two photographs of herself after he initially contacted her, she never sent any

   additional photos. Morton took the other photographs that Defendants eventually used

   from Plaintiff’s personal website, without permission.     He knew Plaintiff was a

   professional model whose photographs were copyrighted and was fully aware of the

   need to obtain authorization before using copyrighted photographs. Nonetheless,

   without obtaining permission, Defendants used at least thirteen different photographs

   of Plaintiff to promote their product. They did so for over six years until Plaintiff

   discovered the unauthorized use and commenced this lawsuit against them. Not once

   after the initial contacts with Plaintiff in 2003 did Defendants ever communicate with

   her nor did they compensate her in any way for the use of her photographs.
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          This evidence – which we reiterate is hotly disputed – rises to the level of a

   conscious and wanton disregard for Plaintiff’s rights with knowledge that injury would

   result. It shows more than just an intentional act of using photographs without

   permission. It shows that Defendants used copyrighted photographs even though

   permission to do so was denied, and they did so surreptitiously for over six years until

   they were caught, and without once compensating Plaintiff for the use. We think this

   type of evidence, if believed, rises to the level of “truly culpable behavior” necessary for

   imposition of punitive damages.

          These facts distinguish our case from Weinstein Design Group, Inc. v. Fielder,

   884 So. 2d 990 (Fla. 4th DCA 2004), a case that Defendants rely on. The defendant in

   Weinstein used the plaintiff’s name for advertising purposes for approximately two

   years, without obtaining consent to do so even though he knew that consent was

   required. Id. at 999. By way of explanation, the defendant testified that he had

   received permission to use the plaintiff’s name from his (the plaintiff’s) wife, which she

   denied doing. Id. The court found “no evidence of intentional, malicious misconduct,

   undertaken with knowledge that injury to [the plaintiff] would result.” Id. at 1001.

   The court noted especially the fact that the defendant thought he had permission from

   the plaintiff’s wife and that association with the defendant’s firm would benefit the

   plaintiff. Id.

          In our case, however, if we construe the evidence and inferences in the non-

   movant’s favor, Defendants were not simply mistaken about whether there was an

   agreement with Plaintiff regarding the use of her photographs; instead, they knew they

   had asked for but not obtained permission yet they proceeded to use her photographs
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   for over six years to their benefit and her detriment. This type of evidence, if believed

   by the fact-finder, goes beyond an intentional act and shows a willful and wanton

   disregard of Plaintiff’s rights, and thus meets the high standards for imposition of

   punitive damages. Because the underlying facts are in dispute, we recommend denial

   of Defendants’ motion for summary judgment on the issue of punitive damages.

         D.     Statutory Damages and Attorneys’ Fees

         Plaintiff concedes that she is not entitled to statutory damages or attorneys’ fees

   under the Copyright Act. [D.E. 152 at 27]. Accordingly, we recommend granting

   summary judgment as to Counts I and III of the Third Amended Complaint such that

   Plaintiff is precluded from seeking statutory damages or attorneys’ fees should she

   prevail on those counts.

         E.     Presumption of Validity

         Plaintiff implicitly acknowledges that she is not entitled to a “presumption of

   validity” because registration of the photographs was not obtained within five (5) years

   of the first publication of the photographs, as required by 17 U.S.C. § 410(c). She

   suggests, however, that the Court can accord evidentiary weight to the certificates of

   registration as evidence that she owns valid copyrights. She states that Defendants

   have presented neither evidence nor argument as to why the certificates should not be

   considered evidence of valid copyrights, or why the copyrights would be invalid, or that

   she is not the owner of the copyrights. That may be so, but it does not prevent us from

   recommending that Defendants’ specific request on this issue be granted: that no

   presumption of validity should attach to Plaintiff’s copyright registrations for the

   photographs at issue here under Counts I and III of the Third Amended Complaint.
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         F.     Defendants’ Motion In Limine

         Defendants move to prevent Plaintiff from introducing at trial any evidence of

   actual damages that she allegedly suffered as a result of their use of her photographs.

   They claim she has failed to provide evidence of a causal connection between the

   alleged infringement and any lost profits she experienced. Similarly, Defendants move

   to exclude any evidence of their profits because Plaintiff failed to demonstrate a causal

   connection between the infringement and their revenue.

         We have already determined, after viewing the evidence through the appropriate

   summary judgment prism, that Plaintiff has proffered evidence of lost modeling fees

   and lost licensing fees as a result of Defendants’ conduct. We have also found evidence

   that some portion of Defendants’ profits was causally connected to their use of

   Plaintiff’s photographs.   Accordingly, we recommend that Defendants’ motion to

   exclude this evidence be denied. However, to the extent that Plaintiff seeks to

   introduce evidence that was not disclosed to Defendants prior to the close of the

   discovery period, that evidence should be excluded as untimely. That determination

   can be made at trial.

         Defendants seek to prevent Plaintiff from discussing punitive damages. We

   have already found that a jury question exists as to whether Defendants acted with a

   wanton and conscious disregard of Plaintiff’s rights. The motion in limine should be

   denied as to this point.

         Defendants also seek to bar any evidence of damages pertinent to Plaintiff’s

   copyright claims that predates September 29, 2006.          They argue that § 507(b)

   precludes recovery of damages as to any infringement that predates the date of filing
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   of this lawsuit by three years, citing Peter Letterese & Assocs., Inc. v. World Inst. of

   Scientology Enters., Int’l, 533 F.3d 1287, 1320 n. 39 (11th Cir. 2008) (“The statute of

   limitations, 17 U.S.C. § 507(b), serves only to limit the period of recovery to three

   years. See Stone v. Williams, 970 F.2d 1043, 1049 (2d Cir. 1992) (“Each act of

   infringement is a distinct harm giving rise to an independent claim for relief.”).”).

          Similarly, Defendants seek to bar any evidence of damages pertinent to

   Plaintiff’s unauthorized publication of likeness claims that predates September 29,

   2005. Section 540.08 does not have its own limitations period so Defendants look to

   the four-year statute of limitations provision of Fla. Stat. § 95.11(3), which acts as a

   limitations period for any action not specifically provided for in the operative statute.

   They claim that the publication of Plaintiff’s photographs occurred on only one

   occasion, thus damages should be calculated from four years prior to the date of the

   filing of this action.

          We recommend that Defendants’ motion in limine on these latter two points be

   denied. This case is rife with disputed issues of fact, including when Plaintiff knew or

   should have known that Defendants were using her photographs, when and how the

   photographs were added to Defendants’ websites, and what damages she suffered or

   what profits Defendants made, as a result of the use of Plaintiff’s photographs. We will

   not now pre-determine how evidence of Plaintiff’s damages beginning in 2003 might

   relate to these or other issues.

                                      III.   CONCLUSION

          Accordingly, it is hereby RECOMMENDED that

          1)     Defendants’ Motion for Partial Summary Judgment as to (1) Copyright
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   Infringement Damages, (2) Punitive Damages, (3) Statutory Damages, and (4)

   Attorney’s Fees and Statutory Presumption of Copyright Validity [D.E. 136] be

   GRANTED as follows:

         a.    Plaintiff is precluded from seeking statutory damages or attorneys’ fees

         on the copyright claims (Counts I and III); and

         b.    Plaintiff is not entitled to a presumption of validity on the copyright

         registrations for the photographs at issue here.

   In all other respects Defendants’ motion should be DENIED; and

         2)    Defendants’ Motion In Limine [D.E. 146] be DENIED.

         DONE AND SUBMITTED in Chambers at Miami, Florida this 7th day of

   September, 2010.

                                                   /s/ Edwin G. Torres
                                                EDWIN G. TORRES
                                                United States Magistrate Judge
